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AO 199A (Rev. ) Order Setting Conditions of Release                                               Page 1 of   4   Pages



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Middle District
                                                      __________        of Pennsylvania
                                                                  District  of __________


                    United States of America                           )
                               v.                                      )
                                                                       )        Case No. 4:23-CR-00159-1
                           Cedric Lodge                                )
                               Defendant
                                                                       )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

     The defendant must not violate federal, state, or local law while on release.

     The defendant must cooperate in the collection of a DNA sample if it is authorized by  U.S.C. § .

     The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

     The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:               86'LVWULFW&RXUW)HGHUDO%XLOGLQJ:HVW7KLUG6WUHHW
                                                                                       Place
           :LOOLDPVSRUW3$

      on      DV2UGHUHG
                                                                      Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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                                                          ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

          IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(       ) (6)The defendant is placed in the custody of:
             Person or organization
             Address (only if above is an organization)
             City and state                                                                              Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

                                                                                   Signed:
                                                                                                                   Custodian                                         Date
(   ✔   ) (7) The defendant must:
         ( ✔ ) (a) submit to supervision by and report for supervision to the U.S. Probation/Pretrial Services                               ,
                   telephone number         570-601-8533         , no later than immediately after Court                 .
         ( ✔ ) (b) continue or actively seek employment.
         (   ) (c) continue or start an education program.
         ( ✔ ) (d) surrender any passport to:       U.S. Probation Department
         ( ✔ ) (e) not obtain a passport or other international travel document.
         ( ✔ ) (f) abide by the following restrictions on personal association, residence, or travel: District of New Hampshire and Middle District of Pennsylvania only
                        must notify the Probation Department in advance of any travel outside the District to New Hampshire & receive written permission from US Probation Department.
         (   ✔   ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                       including: with any co-defendants (Katrina Maclean, Joshua Taylor, Jeremy Pauley, Candace Scott, Matthew Lampi)

         (   ✔   ) (h) get medical or psychiatric treatment:

         (       ) (i) return to custody each                        at              o’clock after being released at                      o’clock for employment, schooling,
                       or the following purposes:

         (       ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                       necessary.
         (   ✔   ) (k) not possess a firearm, destructive device, or other weapon.
         (   ✔   ) (l) not use alcohol (         ) at all ( ✔ ) excessively.
         (   ✔   ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                       medical practitioner.
         (   ✔   ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                       random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                       prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                       of prohibited substance screening or testing.
         (   ✔   ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                       supervising officer.
         (       ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                       (    ) (i) Curfew. You are restricted to your residence every day (             ) from                 to              , or (    ) as
                                     directed by the pretrial services office or supervising officer; or
                       (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                    medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                    activities approved in advance by the pretrial services office or supervising officer; or
                       (    ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                    court appearances or other activities specifically approved by the court; or
                       (    ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                    you must comply with the location or travel restrictions as imposed by the court.
                                    Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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                                                    ADDITIONAL CONDITIONS OF RELEASE

      (       ) (q) submit to the following location monitoring technology and comply with its requirements as directed:
                    (   ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                    (   ) (ii) Voice Recognition; or
                    (   ) (iii) Radio Frequency; or
                    (   ) (iv) GPS.
      (       ) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
                    officer.
      (   ✔   ) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                    questioning, or traffic stops.
      (       ) (t)
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                                                 ǋǩʪੜȆੜǟȾ?pੜÛƢੜɮǵɌǌɁʑȩǽɾੜǍɛǴੜɿǎɍǠʒȇɜɎʀੜ

ʓɝੜYŔº֍ɞੜǪǶɯǷɏǫǏɐʔƶੜ
ʲɟʡੜǐɴǸੜǑǬʫȈʁǹǭੜɠǿੜʕȃǺੜȀɡɂɃɢʭȉɑȂੜɰǻɒǒԇqʖ‫ࣟש‬ੜǓɓǮੜʂǔɔǡʗȊɣɕʃƷੜ
        ʬԈ‫ܤ‬ԉ‫د‬উ֎‫ذ‬ѯੜѡ֏nǉੜ‫ܥ‬ХੜाҀΤੜфࠧࡡΥѰ‫ܦ‬Ҽ‫ر‬ѱੜ˹‫֐ܧ‬ʻ֑͑֒ੜԊ‫زܨ‬ɀੜ‫ܩ‬Цੜࡢੑ Φ‫࣠س‬Χੜ‫ਂܪת‬ੜ֓MΨऽ৛֔/ੜȋ‫ش‬ੜăԋ‫׫‬ੜӜࢻ‫͒˺ص׬‬Ԍ‫ض‬ĄΩੜҽ࣡ÎW੒৭‫ܫ˻׭‬ੜ‫ܬ‬Чੜ‫ط‬ੜ৮‫عܗࢼࡣظ‬ԍੜ ШɆੜਃ‫ܭ‬঱ ੜ˂‫࣢˼غ‬ि½ੜ      

ąਲƨbਰ˽ĆrćԎ‫ػܮ‬ੜ‫ࡤܯ‬ੜ਄ܰ‫׮‬ਲ਼ੜࡥܱԏ͐Ĉĉࣣ˾  Ԑȅ‫ט‬ੜܲࡦ͓ΪࡧੜܳȹNੜ͔ܴ6ܵ‫ؼ‬ԑܶ‫ؽ‬sੜ‫ؾ‬ੜࡨܷ,ѐ࠭Ԓҁ‫ؿ‬਴˿ੜܸЩੜܹ‫ـ‬ਅੜ˞ܺ‫͕ف‬tੜ‫͖كق‬ੜ˃ੜ࠲֕OɤʄZǢʢ‫ܻ@ך‬ŕੜё࠮ࡩੜ੓ܼ‫ل‬ੜीΫ‫ु࠳ׯ‬ੜܽЪੜܾܿ৞࣐ूੜ‫װ‬Ҿ͗ੜ̀݀লԓੜԔFǣѢ֖֗֘ ੜԕ‫م‬ੜ
Ԗƥ࠴ࡪԗࣤ)‫ن‬Ŗŗά‫ृه‬uੜ‫و‬ੜȌe‫݁ى‬vੜÜĊ5ੜ˟݂ॄ҂wੜ
        ʮ҃ӝέੜ݃‫ي‬ੜ࡫́Ԙxًy݄zੜȍ࡬ੜਆ݅঳ੜ̂'‫ױ‬ঊঋঌ֙<ੜ љ̃ࣔ͘ԙੜǨٌ݆ਇੜ݇ЫЬήٍࣥίੜԚ҄ΰੜ࠵ċ‫ײ‬ԛ{҅‫[َ̄׳‬ੜȎࣦੜُِੜ݈͙͚Ԝҿԝّ݉˄ॅੜ࠶ࢽӞْࣧ݊ੜॆαࣕ|ੜ‫݋‬ЭੜČčÝĎੜेٓ‫̅࡭݌‬ੜै҆˅ٔੜԞβٕੜਈγٖੜ+ऻੜ
ˆٗ͛ੜ Ǥ‫ݍ‬ďGੜdੜ Ю̆͜ਉࢾ‫ܘ‬ੜ‫״‬ԟ.̇͝‫࡮ݎخ࣍̈׵‬ੜ‫ݏ‬хц‫ݑࣨ٘ݐ‬ੜॉ҇δੜ࠷঴ٙԠࣩ҈‫࣪\׷¾}׶‬ੜٚٛੜ ٜ͟͞঍‫ݒ‬ٝٞԡੜĐˇ֚भ‫ݓ‬đʴੜॊ‫ݔ‬ٟʼӟੜ‫ݕ‬ЯੜŘÞĒੜɇ‫ݖ‬ēਵ੔ੜो҉ौ‫׸‬ੜ‫ݗ‬٠εੜਊζ‫׹‬ਸ਼~ੜ ʘҊӀ࣫ੜ࣬̉řŚś঎‫̊׺‬ηੜ৯Ӡ֛֜ੜˠθੜ
̋‫ݘ‬١ѣι੏঵Ԣৠ̌ੜ]ÓκĔੜȏ٢ੜ٣֝͠͡এԣ‫ ݙ‬ੜԤ‫ݚ‬fੜ/‫ݛ‬ੜ٤ĕĖ਋ੜ‫ݜ‬1ҋ‫ݝ‬਷ੜɖ‫ݞ‬٥्̍Ʀ̎‫ݟ‬ੜ਌‫ݠ‬শੜėਸ̏̐‫ݡ‬ৡˈ¿ੜ
        ȐȑੜȒ࣭ੜষੜসĘHҌ֞֟রੜę٦ŜŝӁ࣮ҍ٧ˡԥλੜˢ਍ੜহ࠸ੜঐࠨੜԦ‫ ݢ‬ੜ਎˚‫ࣖܙ‬ੜȓ٨ੜ࠹࣌‫ݣ࣯ע‬Ş  Ě‫͢׻‬ਹ٩ੜBƩƱßàáâੜќ٪̑ ‫࡯ݤ‬ੜˣ‫ݥ‬ԧҎੜॎ‫ݦ‬Ƹੜ‫ݧ‬ˤࣰԨࣗ̒ੜ٫ੜ̓ ԩěşҏ‫׼‬ੜҐĜৢμÐॏԪѲ٬ॐ‫ݨ‬ĝӿੜ
ԫੋࣘ࠺νࡰੜৰӡ঑ґੜ‫٭‬ੜৱԬԭ‫ ׽ٮ‬ੜৣԮ̔֠Ӣ‫׾‬ੜ‫ࡱݩ‬ੜԯ‫ٯ‬јࢿ঒ٰ‫ܚ‬ও॑԰ƾੜ਺ξĞˉ֡ӣ‫ٱ‬ğοੜ‫׿‬5ੜ‫࠻؀ݪ֣֢ٲ‬ԱੜĠãੜࡲ‫ݫ‬Բ‫ٶˊٵ̕ٴ!֤ٳ‬Գ‫ࣱ॒ٷ‬ੜ঺ੜ৲ӂ॓‫ٸ‬πमयੜ৤‫ݬ‬Դঔকখੜ‫ࡳݭ‬ੜԵ‫ٹ‬іǈࣀ‫ٻٺ؁‬Զƿੜ‫ࡴݮ‬ੜ֥গġӃŠšԷͣ‫ټ‬Ը‫ݯ‬ੜ'ࡵੜ‫ݰ֧֦ٽ‬মড়࠼Թੜ
ĢäੜҒģĤԺ‫پ‬ĥԻͤ‫ٿ‬ρੜ‫ڀ‬ੜ৳ӄ2‫ځ‬ςरऱੜ৥Լ‫ݱ‬ӅԽ‫؂‬ੜԀ঻ࡶ‫ࡷݲ‬ੜԾ‫ڂ‬ѧࡸ‫ڄڃ؃‬ੜ‫ࡹݳ‬ੜ‫ݴ‬юѠ̖σࡺੜ‫ࡻݵ‬ੜԿғੌੜ̗‫࣏څݶ‬পੜ ʙҔ‫ݷ‬ੜ࠽τ‫ڇچ‬ӤՀ‫ࣲݸ‬ੜ ѨĦ਻ੜħ‫ڈ‬ŢţŤ࠾υ਼॔ӆ‫ډ‬ѳ ੜĨåĩ‫ڋ֩֨ڊ‬ॕՁ‫ڌݹ‬ੜÀæĪ਽ੜҕ֪֫Ӈ؄Ղͥ‫֬ڍ‬ӥ‫ڎݺ‬ੜ‫ݻ࣋ܣ‬ੜ
ࣳՃѴ‫ڏ‬Մɥ‫ڑڐݼ‬Ӧ֭ਏੜ؅‫ࡼݽ‬φੜ؆Յ‫ݾ‬īťʎੜՆаՇҖ̘ਐੜȔ#০‫ݿ‬Ո১χੜ‫ڒ‬ੜԁӧ֮֯Ө‫ړ‬ѵੜ‫ࡽހ‬ੜ‫ށְڔ‬؇࠿ॖ̙ͦੜԂөֱ‫ڕ‬ѶÁੜ
        Ȫчੜ‫ނ‬ѕ঩0Òੜ*‫ރ‬Չ̚Ĭ়ÏɄʵੜ਑‫ބ‬ঽੜ ԃ‫ޅږ‬৴ӈ‫ڗ‬ѷՊ਒ੜш‫ܛ‬ӪੜՋ‫ކ‬ੜʶĭ7ࡀ‫ࡾژއ‬ੜ‫ࣴڙ‬ੜॗҗψੜ̛‫ވ‬াͧӫֲՌ‫ࣵښމ‬ੜ(бੜࡿǥʷω‫ފࣶڛ‬ੜक़Vǧख़ՍিՎࢀ̜ੜ(ࢁੜĮçੜࣷ৚ࣁࢂϊ‫ͨڜ‬ϋࢃੜग़‫ދ‬ੜࣸόࢄ২ύੜˋੜࣹώ‫ڝ‬ज़Ϗ‫̝ڞ‬ϐੜ
ਓীੜ؈ুਔÂੜ˥ϑੜࡁࣂࣺ̞̟ࠩূਯ̠ͩੜв‫ࢅތ‬ੜѦӉՏҘʸѸੜड़‫ލ‬ੜ੕ɱՐgϒ³įਾੜèİIʅʽŦŧŨPϓ̡ͪıਿ‫ܡ‬$ͫੜ‫ڡڠގֳִֵͭͬڟ‬Ցੜࡂৃ‫ڢ‬Ւࣻҙ؉ϔ‫ڣ‬Փੜ؊ˌਕੜҚ‫ޏ‬ੜՔ؋ࡃ‫˝ح‬ƹ0Ãੜ Օгਖɦৄੜ‫ࣙםל‬ੜ̢‫ސ‬Ĳ৵һƽĳ̣ফ‫ף‬ੜ‫ޑ‬дƺੜ
           ‫ޒ‬щъϕ‫ࣼڤ‬ϖ´ ࡄढ़ঘ‫ֶܜ‬लַࣃ‫˦ܝ‬Ֆ‫ޓ‬ੜ˧ਗੜ̤ͮ‫ޔ‬՗қੜ՘،ࡅࢆՙࣽ‫ڦ̥؍ڥޕ‬՚ੜ‫ޖ‬फ़ੀੜҜ‫ڧ‬਱"Qָࣾ‫؎ڨޗ‬ϗ‫ک‬՛ੜѩࢇੜ‫ڪ‬ੜʯ‫ګ‬Ĵੜ‫ޘ‬я‫קי‬Ϙϙ‫ڬ‬ੜਘϚˍࣄळੜ‫࢈ޙ‬ੜ؏‫ࢉޚ‬ϛµਙ‫ޛ‬৅ੜ৶Ӭֹ՜ੜ  
               ‫ޜڭ‬՝ੜؐ‫ޝ‬+ϜੜũŪƠơūੜCƪƲéêëìੜ‫ࢊޞ‬ੜ՞ؑࡆֺRӭࣿ‫ڮޟ‬ϝǅȫੜѪࢋੜŬíĵŭŮůࣅРੜֻӮؒ‫گ‬ੜĶîੜਚ̦‫़࣎ڰ‬ੜ‫ࢌޠ‬Ä˨‫ޡ‬ӊҝǀ
         ɽধੜ‫ޢ‬еђ࠯$ऀϞੜࡇ৆‫ڱ‬ӋँҞ‫˩ڲ‬՟‫ޣ‬ੜ˪ਛੜՠŰűŲࡈࢍּऴ‫ڳޤ‬ঙচছ‫ޥ‬জųȕੜѫय़ੁੜ ॠϟࢎؓੜަжੜѝ৩Ϡੜਜާ‫ࣆڴ‬वੜި࢏ੜؔީ,ϡੜ˫ķĸॡੜաުशषੜբҟ‫ڶڵ‬ੜƣƧ̧ޫ‫ڷ‬ੜਝϢ˛ࣇंੜ¶ ਞެেੜ৷ӌֽ‫־‬ੜˬϣੜ‫̨ͯڹڸ‬ੜ‫ॢޭں‬
               ‫ޮॣڻ‬Ӎ੍AੜҠĹؕੜʆǊƳïðñòੜޯ࢐ੜ‫ࡉؖ‬-ӽް‫ڼ‬ϤͰੜ࢑‫࢒ޱ‬ੜ‫޲ڽ‬।ੜ‫޳ؗ‬ĺJϥੜˁঝ ɲŴŵੜ‫ھ‬৪޴ੜਟ޵޶࢓ःੜóĻੂੜȲȽ޷գҡӎ
        aƯh ޸‫ڿ‬ਠੜ޹1ҢϦ࢔ੜзϧդ޺‫ۀ‬ਡ· ਢ޻Ŷŷੜ৸ӯֿ‫׀‬ੜ˭޼ੜўŸŹϨͱੜźŻôļੜ‫࢕޽ؘ‬ϩੜӏң॥ৈ࢖DӐऄ޾޿߀߁ੜ߂ࢗੜȖ‫*ࡊؙ‬ӻअ߃&ϪͲੜঞżĂȗੜ‫࢘߄ؚ‬ϫੜĽŽটÅ‫؛‬ľੜ৹߅ੜਣС˜࢙आੜ߆࢚ੜˮ߇०ǁ
        ^ưi ੎ੜ‫؜‬եइͳ߈‫ˎ̩؝‬žſ߉࢛¸ ਤߊ৉ੜ৺ӑׁੜ˯ߋੜџ‫ہ‬ϬʹੜƀƁõĿƂƃƄߌ࢜ϭੜҤ‫ܢ‬#ੜEŀö÷øùúੜߍ࢝ੜզ१ঠӰࡋ͵ईߎ৊ϮͶੜûŁੜ‫࢞ߏ؞‬ϯੜ2ҥߐোੜߑ‫ۂ‬ϰੜਥϱৌ࢟ ੜߒࢠੜ˰ߓ Ҧ¡
        ǕੜȘɳ"Xɭʹੜߔੜș‫ࡌ؟‬-Ӓउߕ‫ؠۃ‬Ф‫ܠ‬3ੜȚ‫ߖࡍء‬ऊϲͷੜыߗł੃੄и‫׃ׂۄ‬4࣑ϳੜߘੜ%ࡎࡏ̪‫آ‬ੜߙࢡੜऋ‫ۅࣚ੅أ‬͸ӼKੜ৻ׄ‫»׆ׅ‬ডŃ̫ੜ̬ߚ‫ۆ‬ऌ্̭̮է৫ߛੜըੜ‫ۈۇ‬ਦੜߜ२ҧϴࢢੜऍߝ‫ۉ‬३̯‫̱̰ۊ‬ੜਧৎੜࢣУ¼ߞӓ৬ߟ¢ੜ ț‫ۋ‬
Ƥ͍‫ׇ‬͹թńժߠ‫ی‬£ੜƅƆੜїӱ৏ࢤϵੜիߡੜüŅǇࡐ̲‫ࢥۍ‬ੜߢࢦੜऎ৐‫ۏ̳ێ‬ͺߣ४੆ੜ‫ˏؤ‬ਨੜࢧ϶¤ƇƈņŇੜҨňੜ५ҩϷੜйߤࢨѬ‫׈‬ঢয়࣒ߥੜߦкੜ‫ۑې‬਩ੜ˱ߧ‫ͻے‬ੜࡑߨएլ̴ͼ¥ੜ

                                                      ǖ͎৑ৼ৽խϸͽѹ‫إ‬Ϲ৒६ੜߩлੜ७ҪϺੜǯϻм̵‫ە۔;ۓ‬ŉੜ

      ծੜ‫৾ߪࣛࠪܞ‬կ̶ͿѺϼੜհҫۖ८ੜȜੜ‫ܟ‬ӲҬੜ९ҭϽੜ΀ϾнϿۗ΁Ӿ॰ੜӔۘੜ8Үऐੜ̷Ñऑ߫ੜːۙ΂ੜॱձࣜॲੜȝੜ‫ۚئ‬ੜˑ৿ۛࣈࠫੜ߬‫׉‬SণүЀੜ̸߭ۜ΃ӕ=ӳ߮‫۝‬Æऒੜ߯оࣉࠬЁ۞ओǆ¦ੜȴੜࡒࢩ߰যঢ়‫׊‬Ӵǂ߱ੜॳ߲ੜ߳˲ЂਪੜɵȬȭੜ̹)۟΄ղ9Ӗߴ۠औ
ߵпࢪ͏̺˒क߶§ੜॴ߷ੜ˓ࡓࡔ̻˔Ŋੇੜۡखੜ΅:̼ࣝճЃΆ¨ੜۣۢ·ੜ˕৓ۤ߸‫ۥ‬ΈЄࢫॵ߹ੜ੖ЅࣞІੜѤ‫ۦ‬ਫੜग੗ۧॶЇɈЈੜմ‫ߺࡕا‬ʇ߻Ή©ੜ Ȟੜۨ‫ب‬ੜࡠʰ੘ࢬ߼ੜ߽ࢭੜॷ߾ੜࡖ̽۩۪յॸնЉघੜ৔۫Ίੜङۭ۬߿ॹрࠀŋʺचੜछЊ3ੜѭࢮॺҰੜ‫ۮ‬ˀ²ࠁ਀ªੜ




                                                    ɧ‫׋‬তੈ̾̿Ɖ‫ࠂ׌‬ƊƋजੜշࠃੜॻұЋੜব‫̀׎׍ۯפ‬΋ੜʈॼ۰ॽ́झੜɉ۱ࢯञҲ۲ոੜ
_ੜ ੐ jੜ ʚҳЌੜЍѓ࠰۳Ό‫ة‬ƌƍੜȟटੜɨɶভ‫ץ‬ѥʣչ‫צ‬ੜ ࠄպ͂%ठ̓΍ੜ۴‫ר‬Ўࢰੜࡗࢱࠅ̈́Џसहӗ۵ѻÇ
`ੜ kੜ ʛҴАੜʤ۶ ‫ͅ׏‬ΎੜʉջࠆռТऺੜƎƏƐ۷Ō੉डҵ۸սੜȠढੜɩɷǰǝɸǼȡlੜվࠇੜԄБВࡘੜ>ȮॾࠈੜΏ͆њ۹ΐ‫ॿۻۺ‬ੜȢ‫ۼ‬ੜࠉ৕ÈणࠊΑਬੜƑƒƓōƞƟŎੜ‫ঀࠋ۽‬ӘьӵГΒੜ˳oੜ‫ࠌঁבא‬ੜ͇տДࢲԅੜࠍࢳੜȵ‫۾‬ΓѼࠎੜংҶ‫ۿ‬րੜȣ˴ࠏੜΔࠐсЕ&Ε‫܁܀‬
        ҷ‫܂‬तੜ࡙ࠑʏ‫ג‬ЖΖੜ˵ࠒ‫܃‬Ηੜথ‫הד‬ঃΘÔýŏ੊ੜ͈ࠓŐ‫܄‬ਖ਼!‫ࠔמ‬ΙੜਁցւҸੜ৖‫זו‬ੜࠕփҹЗࢴੜࠖࠗ‫܅‬ΚӺ ࠘ थੜє࠱ࢵੜࢶ࠙քࠚ‫܆‬दࠛ«ੜ Ⱥэध঄օ‫ח‬ੜȤ‫܇‬ੜ͉4नֆΛਭੜǜন࣊ਗ਼ੜΜࠜћ‫܈‬Ν‫܊܉‬ևੜ‫܌܋‬Ɣʐȥੜ˶Иੜ࡚ࢷࠝੜ ő࣓ЙΞੜ˷ࠞѮþੜ
        әҺКੜ࡛ࠟ࡜অࠠ࡝ࢸֈ‫܍‬Ӛࠡȶ܎Οѽࠢੜ܏ੜ։ӶদЛੜƕƖƗƘƙÿੜ‫ܑܐ‬Πੜ࡞ӛ‫͊ܒ‬Мੜ.࡟Нࠣ ‫͋ܓ‬Ρ¬ੜ Õੜ Lੜ ¹ਜ਼ੜ
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Ǳ‫ܔ‬আОƻੜ             ƴÖƫ×ƬĀƭƮੜ
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                                                                             ʱȯӷӸӹ˖‫ت‬ੜȦÉੜǗࢹ˸ৗࠤԆ֊ࠥ ੜ ʥÊʊËੜɊ˗Ѿ֋ऩࢺ˘ইࠦੜȷ৘΢ѿПੜ
                                                                                           ƜUƝƚƛʦΣੜ;ØcÙȻǃǄੜ˙‫ث‬ȸੜÚтуঈੜ




                       ‫כ‬ȿȧʋʜȳʩǞʧʝȰɬɗƼੜ Ǧɪʨɹʞੜ ǲ‫נן‬ȁāɘǳǘəʟੜ            ‫ס‬ȄǾʠɺȨǛȱÍ­ੜपŒ‫ج‬ਮœ͌फੜ     ৙®ब¯ੜ°ʾT‫ܕ‬ɫɻɚ‫ܖ‬ʳੜ ʿȼ±ʌÌੜɋǙɼʍ֌mǚɅੜ
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